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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

United States of America,
                   Plaintiff,

v.                                             No’s 13-10140-01, 02, 03

Manuel Torres Arevalo, et al.,
                  Defendants



                           MEMORANDUM AND ORDER



       The government has charged all the defendants (Manuel Torres Arevalo,

Marisela Ramirez, Jorge Rodriguez-Maciel, Maria Rosario Diaz, and Victor Diaz) with

conspiring to distribute 50 grams or more of methamphetamine (in violation of 21

U.S.C. §§ 846, 841). The government also charges that defendant Marisela Ramirez

mutilated a Federal Reserve Note (18 U.S.C. § 333), and attempted the depredation of

government property (18 U.S.C. § 1361).

       This matter is before the court on two motions to suppress wiretap interceptions,

filed on behalf of the defendants Arevalo, Ramirez, and Rodriguez-Maciel. The first

motion (Dkt. 47) was filed on behalf of all three defendants on December 9, 2013. The

second motion (Dkt. 69), on behalf of Ramirez and Rodriguez-Maciel, was filed on June

2, 2014.

       The defendants’ motions address different issues. The first motion challenges the

wiretaps on the grounds that the interceptions did not comply with the statutory
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requirements for “minimization,” that is, the requirement that intercepting officers try

to avoid listening to innocent conversations. See 18 U.S.C. § 2518(5) (wiretaps “shall be

conducted in such a way as to minimize the interception of communications not

otherwise subject to interception”). Under 18 U.S.C. § 2518(5), when law enforcement

agents listen to a conversation in a foreign language “and an expert in that foreign

language or code is not reasonably available during the interception period,

minimization may be accomplished as soon as practicable after such interception.”

       The defendants agree that the validity of the wiretaps is determined by Kansas

law. (Dkt. 69, at 2). Kansas law permits judges to authorize wiretaps, but the authority

to intercept calls is limited to the judge’s territorial jurisdiction. State v. Adams, 2

Kan.App.2d 135, 576 P.2d 242 (1978). Under Kansas law, an “interception” occurs when

the police listening device actually intercepting is within its jurisdiction. State v. Gibson,

255 Kan. 474, 489, 490 (1994). See United States v. Luong, 471 F.3d 1107, 1109 (9th Cir.

2006). Thus, the interception happens where the tapped phone is located and where law

enforcement officers first overhear the call. United States v. Rodriguez, 968 F.2d 130, 136

(2nd Cir. 1992).

       The defendants allege that in the present action the calls were not intercepted

within the territorial jurisdiction of Johnson County, Kansas, because “[a]fter the first

thirty days, the calls were intercepted and monitored in St. Louis.” (Dkt. 47, at 1-2).

According to the government, however, “all calls … were initially intercepted, heard

and recorded in Johnson County, Kansas.” (Dkt. 95, at 12).



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Findings of Fact

      The first two wiretap orders, TT1 (for “Target Telephone”) and TT2, were issued

by a Johnson County District Judge on March 29, 2013. TT1 authorized interception of a

prepaid cellular telephone issued to a “Heather Lock” at 1052 Longwood Avenue, but

actually used by defendant Arevalo. TT2 authorized interception of a prepaid cellular

telephone issued to “David Lopez,” but also used by Arevalo. Both orders stated that

the

      interceptions … will occur at the offices of the DEA Kansas City Office,
      located at 7600 College Boulevard in Overland Park, Johnson County,
      Kansas, regardless of where the telephone calls are placed to or from, so
      that all interceptions will first be heard in the DEA office in Overland
      Park, Johnson County, Kansas.

In addition, both TT1 and TT2 required minimization of the intercepted

communications, pursuant to Kansas law:

      Conversations will be minimized in accordance with K.S.A. 22-2516(5).
      These interceptions will also be minimized when it is determined, through
      voice identification, physical surveillance or otherwise, that neither
      Subject Interceptees, nor their associates, when identified, are participants
      in the conversation unless it is determined during the portion of the
      conversation already overheard that the conversation is criminal in
      nature. Even if one or more associates, when identified, are a participant
      in the conversation, monitoring will be minimized if the conversation is
      not criminal in nature or otherwise related to the offenses under
      investigation. It is understood that the agents will be permitted to spot
      check minimized conversations to determine whether the conversation
      has turned criminal in nature, and therefore, subject to interception that an
      expert or person otherwise fluent in that language will be available to
      monitor and to translate during the interception whenever possible. In the
      event the translator/expert is not an investigative or law enforcement
      officer, the translator, whether a language trained support employee or
      someone under contract with the Government, will be under the direct
      supervision of an investigative or law enforcement officer authorized to
      conduct the interception. If however, such a translator is not reasonably

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      available during the interception period, minimization may be
      accomplished as soon as practical after such interception. The following
      after-the-fact minimization procedures have been established for
      conversations: (1) All such foreign language conversations will be
      intercepted and recorded in their entirety; and (2) As soon as practicable
      after such interception, these conversations will be minimized by a
      translator under the guidance of an investigative or law enforcement
      officer authorized to conduct the interception.

      Consistent with this order, the agents overseeing the wiretap arranged to have

linguists in the Overland Park office to monitor the telephone calls.

      On April 2 and 8, 2013, the same judge issued Amended Orders as to TT1 and

TT2, based on information showing the use of the telephones. The Amended Orders

contained identical language as to the place of interception and the requirement for

minimization. The TT1 authorization ended April 27, 2013. The TT2 authorization

ended April 26, but was reauthorized the same day.

      The Johnson County District Court authorized three additional interceptions

during 2013:

      Order         Date          Listed Customer             Actual User
      TT5           May 15        “Prepaid Customer”          Pariete (aka Maciel)
      TT6           May 22        “Holly Nunez”               Arevalo
      TT7           May 29        “Prepaid Customer”          Maciel

Each of the additional orders contained similar requirements for interception and

minimization.

      Under the original minimization procedure, the intercepted calls were first heard

“live” in Johnson County by Spanish-speaking monitors supervised by DEA agents or

task force officers. If the communication was in Spanish, the linguists listened to or

reviewed the communication, and minimized it in accordance with the state court’s

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orders. Any portion of the intercepted communication that was actually heard or

reviewed was recorded and this recording was maintained in accordance with the state

statutes. If the linguists or agents (when the call was in English) minimized (or did not

listen to) a portion of an intercepted communication, that portion of the communication

was not recorded.

      Because of the federal budget sequestration in the Spring of 2013, the Spanish-

speaking monitors were moved from Johnson County to St. Louis, Missouri. The

decision was made for budgetary reasons, and was not made by DEA personnel in

Johnson County, the Johnson County District Court, or by the District Attorney.

      The translators used by the DEA are employees of a separate company, MDM,

Inc., based in St. Louis. The sequestration did not prevent their continued employment

under the DEA’s contract with MDM, but did preclude additional per diem and lodging

expenses, thus precluding their continued employment in Kansas. Up to a half-dozen

linguists were required to support the translation services.

      Translators employed by the DEA take extensive written and verbal tests. They

must have security clearances, and must agree to engage in long sessions to support the

24-hour constant monitoring required under the authorized surveillance. At the

hearing, the lead DEA Agent testified credibly that there are not many translators who

can meet these requirements, given the labor-intensive nature of the work.

      The DEA notified the Johnson County District Attorney and the Johnson County

District Court of the change. Judge Sara Welch of the Johnson County District Court

authorized “after the fact” minimization for intercepted communications. Under these

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procedures, all intercepted calls were first heard by on-duty agents at the Overland

Park office, and recorded in their entirety. Calls in English were minimized by the

agents immediately. Recordings of calls in Spanish were forwarded, as soon as practical

after the call was terminated, to a Spanish linguist at the St. Louis Division Regional

Intercept Wire room.

      In St. Louis, the monitor would play the recording and decide within two

minutes if the conversation related to the offenses cited in the wiretap order. If the

conversation was related to such criminal activity, the monitor would translate and

transcribe the conversation. If the conversation appeared unrelated, the monitor would

not listen to the continuing conversation, except for subsequent “spot checks” to see to

the conversation had begun to address criminal activity. The monitors logged the

conversations and minimizations. The only portions of the intercepted communications

which were translated were those the monitors found to be “pertinent.” Calls shorter

than two minutes were generally not minimized.

      These minimization procedures were implemented prior to the TT5, TT6, and

TT7 authorizations.

      The evidence shows that the state court exercised care in authorizing and

regularly supervising the wiretaps. Judge Welch exercised significant supervision of the

execution of the wiretaps and the associated minimization.




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Conclusions of Law

Minimization

       Under 18 U.S.C. § 2516(2), the court may receive evidence obtained through a state-

authorized wiretap order issued by a judge of competent jurisdiction and which otherwise

complies with “section 2518 of this chapter and with the applicable State statute.”

       The defendants’ first motion focuses on the alleged lack of minimization. The federal

wiretap “does not forbid the interception of all nonrelevant conversations, but rather

instructs the agents to conduct the surveillance in such a manner as to ‘minimize’ the

interception of such conversations.” Scott v. United States, 436 U.S. 128, 140, 98 S.Ct. 1717, 56

L.Ed.2d 168 (1978). As the defendants acknowledge, once the adequacy of minimization

efforts is challenged, the government must make a prima facie showing that its efforts at

minimization were reasonable. If it makes this showing, the burden shifts to the defendants

to show more effective minimization could have taken place. United States v. Willis, 890 F.2d

1099, 1102 (10th Cir. 1989) (citing United States v. Armocida, 515 F.2d 29, 45 (3d Cir.), cert

denied, 423 U.S. 858 (1975).

       To comply with § 2518(5), the “government’s efforts to minimize interception of

non-pertinent conversations must be objectively reasonable in light of the circumstances

confronting the interceptor.” United States v. Brown, 303 F.3d 582, 603 (5th Cir. 2002).

(internal quotation marks omitted).

               In determining whether the government has made a prima facie
       showing of reasonable efforts to minimize the interception of non-pertinent
       calls, we consider the factors identified by the Supreme Court in Scott: (1)
       whether a large number of the calls are very short, one-time only, or in
       guarded or coded language; (2) the breadth of the investigation underlying
       the need for the wiretap; (3) whether the phone is public or private; and (4)
       whether the non-minimized calls occurred early in the surveillance. 436 U.S.

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       at 140–41, 98 S.Ct. 1717. It is also appropriate to consider (5) the extent to
       which the authorizing judge supervised the ongoing wiretap. United States v.
       Lopez, 300 F.3d 46, 57 (1st Cir.2002); United States v. Daly, 535 F.2d 434, 442
       (8th Cir.1976); United States v. Vento, 533 F.2d 838, 853 (3d Cir.1976).

United States v. Yarbrough, 527 F.3d 1092, 1098 (10th Cir. 2008).

       Other Circuits have identified similar factors grounded on Scott. Thus, in the Fifth

Circuit, courts look to “‘(1) the nature and scope of the criminal enterprise under

investigation; (2) the Government’s reasonable inferences of the character of a conversation

from the parties to it; and (3) the extent of judicial supervision.’” Brown, 303 F.3d at 604

(quoting United States v. Bankston, 182 F.3d 296, 307 (5th Cir.1999)). Generally, very short

calls are not subject to minimization. See Yarbrough, 527 F.3d at 1098 (excluding calls under

two minutes, citing Scott, 436 U.S. at 140, (noting “agents can hardly be expected to know

that [very short] calls are non pertinent prior to their termination”)). In Yarbrough, the court

found the government’s minimization procedures were prima facie reasonable, based on

the showing that (1) 25.6% of the calls longer than two minutes were minimized, (2) the

minimization was supervised by a judge on a weekly basis, (3) the criminal investigation

into gambling and bribery was extensive, (4) that the targeted cellphone was the

defendant’s personal phone and not a phone used by other persons, and (5) that non-

minimized calls happened more frequently early in the investigation, “at a time when

agents were learning to identify speakers, the speakers’ relationships to Yarbrough, and the

significance of the conversations.” Id.

       The government need not show “contemporaneous minimization was an utter

impossibility” before using after-the-fact translators to conduct minimization

procedures. See United States v. David, 940 F.2d 722, 730 (1st Cir. 1991). Rather, it need


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only show that it engaged in “reasonable, good faith efforts” to obtain translators

“willing and qualified to serve as interpreters without compromising the investigation

or the government’s legitimate security concerns.” Id. See also United States v. Padilla-

Pena, 129 F.3d 457, 463 (8th Cir. 1997) (government was not “required to shut down the

wiretap until Spanish monitors could be obtained,” only that it used reasonable efforts

to obtain such monitors).

       Here, the investigation was part of an extensive drug trafficking investigation.

“‘[M]ore widespread surveillance’ is justified when the wiretap is targeted toward what is

thought to be a widespread conspiracy.” United States v. Killingsworth, 117 F.3d 1159, 1165-

66 (10th Cir.1997) (quoting Scott, 436 U.S. at 139-40). The targeted phones were personal

cellphones used by the defendants. The calls were monitored for relevance to the

investigation, and as noted earlier, the wiretaps were undertaken under the active and

careful supervision of the state court. The procedures adopted to ensure minimization

were careful and deliberate. The sequestration-driven relocation of the translators to St.

Louis was beyond the control of the investigating agents, and qualified alternative

translators, with the necessary security clearances, were not readily available. The

evidence provided at the hearing established that the wiretap monitoring was

extremely labor-intensive, requiring constant, 24-hour-per day attention, thereby

precluding the use of alternative local translators. Further, faced with the budgetary

shortfall, the agents actively sought and received judicial approval for the modified

minimization procedures.




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      In sum, the court finds that the minimization of the wiretaps was objectively

reasonable and consistent with 18 U.S.C. § 2518(5). The defendants have failed to show

the existence of more effective minimization procedures, given unexpected

sequestration and the absence of certified translators with security clearances who

could provide the labor-intensive monitoring required.

      In United States v. Johnson, No. 90-5079, 1991 WL 103375 (4th Cir. 1991), the court

affirmed the decision of the district court holding that the government had met its

burden of showing its minimization procedures were reasonable and that the defendant

had failed to show the existence of a more effective procedure. The court stressed that

the requirement of minimization “does not leave all innocent communications

unheard,” and that the focus of the court remains whether the minimization efforts

were “reasonable under the circumstances” based upon “review[] on a case by case”

basis. Id. at *4. In rendering this decision the nature of the underlying criminal

enterprise may be decisive.

      When law enforcement officials are confronted with a large, far-flung and
      on-going criminal activity involving multiple parties, they are afforded
      greater latitude in conducting wiretaps. The Seventh Circuit, in
      considering a drug conspiracy, held that

             [l]arge and sophisticated narcotics conspiracies may justify
             considerably more interception than would a single criminal
             episode. This is especially so where, as here, the judicially
             approved purpose of the wiretap is not so much to
             incriminate the known person whose phone is tapped as to
             learn the identity of far-flung conspirators and to delineate
             the contours of the conspiracy.




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       United States v. Quintana, 508 F.2d 867, 874 (7th Cir.1975). In fact, the
       legitimate investigation of conspiracies may necessitate the interception of
       all or almost all communications over a given period of time.

Id. at *5 (quoting United States v. Clerkley, 556 F.2d 709, 716-17 (4th Cir.1977), cert. denied

sub nom. Genco v. United States, 436 U.S. 930 (1978)).

       Similarly, in United States v. Willis, 890 F.2d 1099, 1102-03 (10th Cir. 1989), the

Tenth Circuit observed that the defendant, in responding to the government’s prima

facie showing, must point specifically to alternative minimization procedures which are

still consistent with effective investigation of conspiracies involving organized crime:

       Law enforcement officers need reasonable latitude to pursue investigatory
       techniques in order to uncover surreptitious criminal activity. In this
       information age, with the potential for the planning and the perpetration
       of criminal activities via telephones and other communications devices so
       great, procedures exist whereby investigators may go to a United States
       district judge and upon a showing of probable cause gain temporary
       permission to monitor the telephone calls of individuals believed involved
       in criminal activity. See, e.g., 18 U.S.C. § 2518. If the courts were to find the
       facts at bar represented unreasonable conduct, it might serve to handcuff
       law enforcement personnel. See United States v. Cox, 567 F.2d 930, 933 (10th
       Cir.1977), cert. denied, 435 U.S. 927, 98 S.Ct. 1496, 55 L.Ed.2d 522 (1978) (an
       overly restrictive interpretation of the minimization requirement could
       make it impossible to use this device in connection with the investigation
       of organized criminal conspiracies). This we decline to do.


       “As to the defendant’s burden, ‘it is not enough to identify particular calls which

[he] contend[s] should not have been intercepted; [he] must establish a pattern of

interception of innocent conversations which developed over the period of the

wiretap.’” United States v. Dimora, 835 F.Supp.2d 534, 573 (N.D. Ohio 2011) (quoting

United States v. Lawson, 780 F.2d 535, 540 (6th Cir.1985) (internal citations and quotations

omitted)). Here, the defendants have failed to demonstrate the existence of a pattern of

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interceptions of innocent conversations. Moreover, the target of the investigation was

an ongoing narcotics trafficking conspiracy. The minimization efforts were reasonable,

and the defendants have failed to demonstrate the interception of a substantial number

of non-pertinent calls. See United States v. McDowell, 2011 WL 830534, *6 (D. Kan. 2011)

(defendants failed to meet burden of showing particular method for improving

minimization).

      Finally, even assuming that the defendants had shown a more effective method

of minimization was reasonably available, they have done nothing to show that the

remedy sought – complete suppression of the intercepted calls – is appropriate. Where

the government fails to properly minimize calls intercepted pursuant to a valid warrant,

the “drastic remedy” of wholesale exclusion is upheld in rare cases only. See Dimora, 836

F.Supp.2d at 582.

      At most, suppression of only the non-pertinent calls that were improperly
      minimized would be appropriate. See United States v. Baltas, 236 F.3d 27, 32
      (1st Cir.2001), cert. denied, 532 U.S. 1030, 121 S.Ct. 1982, 149 L.Ed.2d 773
      (2001) (“[E]rrors in minimizing one particular interception within the
      context of a lengthy and complex investigation ... do not automatically
      warrant suppression of all the evidence obtained through electronic
      surveillance.”); see [United States v.] Gray, 372 F.Supp.2d [1025,] 1046
      [(N.D. Ohio 2005), aff’d in relevant part, 521 F.3d 514 (6th Cir. 2008)]. The
      First Circuit has noted that “in a particularly horrendous case, total
      suppression may be ... an ‘appropriate’ solution,” but the court also noted
      that the “sweeping relief” of complete suppression is only appropriate
      upon a showing of “taint upon the investigation as a whole ....” United
      States v.] Hoffman, 832 F.2d [1299,] 1309 [(1st Cir. 1987)] (While the district
      court suppressed 22 calls it believed to be improperly minimized,
      defendant was not entitled to total suppression because the “minimization
      effort, assayed in light of the totality of the circumstances, was managed
      reasonably.”); see United States v. Mansoori, 304 F.3d 635, 648 (7th Cir.2002)
      (If the defendants were to prevail on their minimization argument, “the
      appropriate relief likely would be to suppress any conversation or

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       conversations that were inappropriately monitored.”); United States v.
       Charles, 213 F.3d 10, 22 (1st Cir.2000) (district court properly suppressed
       only the call that violated the minimization order, and not the entire
       wiretap, where no evidence that entire investigation was tainted); United
       States v. West, No. 06–20185, 2009 WL 4506420, at *1 (E.D.Mich. Nov. 30,
       2009) (“suppression of all wiretap evidence is only appropriate when the
       failure to minimize is egregious”).

       Here, the defendants argue in favor of suppression by relying on a single case,

United States v. Renzi, 722 F.Supp.2d 1100 (D. Ariz. 2010). Renzi, however, is manifestly

different from the present case. In that action, the court granted the relief of suppression

because it was faced with “unreasonable wholesale interception of calls [which

investigators] knew to be attorney-client communications.” 722 F.Supp.2d at 1118

(emphasis added).

       This trifecta of misconduct is not present here. Investigators targeted only cell

phones which evidence shows were being used in an ongoing drug-trafficking

conspiracy. The attorney-client privilege is nowhere present. And, as noted below, there

is no evidence whatsoever of knowing or intentional misconduct or bad faith on the

part of the investigators. The budget sequestration was a problem thrust upon them.

The officers did not conceal the problem or in any way misrepresent their proposed

remedy. Rather, they actively and fully informed the court of the issue, and obtained

judicial approval for modified procedures which balanced the need for continued

surveillance, real-time translation, and effective minimization.




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Jurisdiction

       The defendants’ second motion as to the wiretaps “incorporates by reference the

facts as stated” in their first motion (Dkt. 69, at 1), but otherwise does not address or

elaborate on the claim that the government’s minimization procedures were

unreasonable. Rather, the motion advances a jurisdictional argument. That is, the

defendants contend, the Johnson County District Court was without jurisdiction to

enter the wiretap orders because, according to the defendants, while the calls were

initially intercepted in Kansas, after the first month, “the calls were intercepted and

monitored in St Louis Missouri.” (Dkt. 69, at 2).

       The court finds that the evidence does not support this contention. The live

listening and recording occurred in Johnson County, Kansas. The only event occurring

in St. Louis was the after-the-fact minimization, which was specifically approved by the

Johnson County District Court.

       The subsequent minimization efforts in St. Louis were reasonable in light of the

federal government budget sequestration during the relevant time period, and the

corresponding relocation of Spanish-language translators to St. Louis. Other than the

relocation of the translators to St. Louis, the defendants have done nothing to show

how the minimization procedures (detailed above) were in any way inadequate.

       The defendants’ jurisdictional argument fails because the calls were intercepted

in Kansas. The jurisdictional argument presented by the defendants is grounded in

Kansas law, specifically K.S.A. 22-2516(3). See State v. Gibson, 255 Kan. 474, 489 (1994);

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State v. Adams, 2 Kan.App.2d 135 (1978). Nothing in the law cited by the defendants

indicates an intent to restrict the jurisdictional application of the state statute so as to

require that both the interception and the minimization procedures occur within Kansas.

       To the contrary, many of the federal cases cited by the defendants directly

suggest such a narrow reading is wrong. Thus, the defendants take language from

United States v. Rodriguez, 968 F.2d 130, 136 (2nd Cir. 1992) and United States v. Luong,

471 F.3d 1107, 1109 (9th Cir. 2006) to suggest that interception occurs only where it is

“first heard” by law enforcement officers. But a full reading of both cases clearly

indicates that such a narrow reading is not correct.

       In Rodriguez, the court concluded that Congress intended “interception” under 18

U.S.C. § 2518(3) to be broadly defined, to include either the place of physical

interception, or the place where the conversation was listened to.

              The statute does not specify precisely where an interception is
       deemed to occur. It seems clear that when the contents of a wire
       communication are captured or redirected in any way, an interception
       occurs at that time. Such an interception plainly occurs at or near the situs
       of the telephone itself, for the contents of the conversation, whether
       bilateral as is usually the case, or multilateral as is the case with a
       conference call, are transmitted in one additional direction. Redirection
       presupposes interception. Accordingly, a federal court sitting in the
       jurisdiction in which the to-be-tapped telephone is located would have the
       authority, under § 2518(3), to authorize a wiretap.

              Nonetheless, since the definition of interception includes the
       “aural” acquisition of the contents of the communication, the interception
       must also be considered to occur at the place where the redirected
       contents are first heard. See Webster’s New International Dictionary, at
       182 (2d ed. unabridged 1957) (defining “aural” as “of or pertaining to the
       ear or the sense of hearing”). Indeed, prior to 1986, Title III’s definition of
       interception focused on “aural acquisition[s]” alone. The phrase “or other”
       was inserted into the present definition as part of a modernization of Title

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      III to ensure privacy protection for new forms of communication such as
      electronic pagers, electronic mail, and computer-to-computer
      communications…. Though it is plain that Congress intended to expand
      the scope of Title III to extend its protections to modern forms of
      communication, there is no indication in the legislative history that it
      intended to extinguish the principle that the place where the contents of a
      wire communication are first to be heard and understood by human ears,
      other than those of the parties to the conversation, is the situs of an
      interception within the meaning of § 2510(4).

968 F.2d at 136. Thus, Rodriguez holds that interception under the federal statute occurs

“not only where the tapped telephone is located, but also where the contents of the

redirected communication are first to be heard.” Id. The “not only … but also” language

clearly indicates that jurisdictional requirements are satisfied if either physical

interception or aural hearing occurs within the territory of the court authorizing the

wiretap order.

      Luong expressly agrees with Rodriguez, and with the Fifth Circuit’s decision in

United States v. Denman, 100 F.3d 399, 402-03 (5th Cir. 1996). In Denman, the court

interpreted Rodriguez to hold that “an interception includes, but is not limited to, the

situs of the telephone itself” as well as the place where it is “first heard.” 100 F.3d at

402-03 (emphasis in Denman)

      Finally, the Tenth Circuit’s decision in United States v. Tavarez, 40 F.3d 1136 (10th

Cir. 1994) also supports this broader, disjunctive understanding of where a wiretap

“interception” occurs. The defendant in that case argued that the Oklahoma state court

authorizing the wiretap was without jurisdiction, because his telephone was located in

another jurisdiction. The court rejected the contention “that an interception occurs only

at the tapped telephone,” and explicitly agreed with the broader language from

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Rodriguez, that “‘a communication is intercepted not only where the tapped telephone is

located, but also where the contents of the redirected communication are first to be

heard.’” 40 F.3d at 1138 (quoting Rodriguez, 968 F.2d at 136). The court also approvingly

quoted the observation in United States v. Burford, 755 F.Supp. 607, 611 (S.D.N.Y.1991)

that “[j]urisdiction [to authorize a wiretap] vests either in the location where the

conversations are actually heard or where the mechanical device is inserted.” (Emphasis

added). See also State v. Guerrero-Flores, 402 S.C. 530, 741 S.E.2d 577 (2013) (following

Rodriguez and stating that “interception of a phone call can occur in two locations—the

place where the tapped phone is located and the place where law enforcement officers

first overhear the phone call”).

       The wiretap orders here were directed at cellphones to be used in Kansas. The

target of TT1, the cellphone issued to “Heather Lock” was issued to the user residing at

1052 Longwood Avenue in Kansas City, Kansas. TT2 was directed to a cellphone issued

to “David Lopez,” at 1990 Orville Avenue in Kansas City, Kansas. TT6 was directed to a

telephone issued to “Holly Nunez,” residing at 113 Orville Avenue in Kansas City,

Kansas. TT5 and TT7 authorized the tap of cellphones issued simply to “Prepaid

Customer” with a listed address of 17330 Preston Road in Dallas, Texas, but the

numbers (913-689-8694 and 913-553-0571) indicate the phones will be used in

northeastern Kansas. All of the wiretap orders provided that the interception and

recording of the conversations would occur at the DEA office in Johnson County. All of

the interceptions in fact occurred at this DEA office.



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      That a similar result applies under Kansas law is confirmed by the opinion of the

Kansas Supreme Court in State v. Gibson, 255 Kan. 474, 874. P.2d 1122 (1994), which

reversed a decision by the Riley County District Court holding that it did not have

authority under the state wiretap law to authorize a pen register, where the recording

device was located in Riley County but the target or subject “slave” telephone unit was

located in another county.1

      In reaching this conclusion, the Supreme Court primarily held that the district

court’s factual assessment of the necessity of the out-of-county “slave” unit was in error.

However, the Supreme Court also expressly agreed with the state’s argument that, even

if such a “slave” unit was necessary, the presence of the monitoring device in Riley

County would support jurisdiction for such an order;

      The district court concluded that it had no power to authorize installation
      and use of a pen register unit when any part, not just any indispensable
      part, of it would be outside the judicial district. As discussed above, the
      State relies on wiretap cases which permit surveillance on telephones
      located outside the judicial district as long as the “interception” takes
      place within it. The rationale of those cases is built on the definitions of
      intercept, contents, and aural acquisition. Because a pen register does not
      involve eavesdropping on substantive voice communications, there is no


1 Another Kanas case, State v. Adams, 2 Kan.App.2d 135, 576 P.2d 242, rev. denied, 225

Kan. 845 (1978) has no application here. In that case, the Court of Appeals suppressed
evidence obtained from a Johnson County wiretap order. As the court stressed, “[t]he
telephone, the interception bridge, and the monitoring station were all physically
located in Wyandotte County.” 2 Kan.App.2d at 135, 576 P.2d at 243. Ultimately, the
court concluded: “Where there is interception of telephonic communications, and the
locations of the telephone as to which the intercept is conducted, the intercepting device
and the monitoring are within the same judicial district, a district judge sitting in
another judicial district has no power … to authorize the interception.” 2 Kan.App.2d at
139, 576 P.2d 245. Thus, Adams simply held that a district court cannot authorize a
wiretap where all of the relevant devices or events existed outside the court’s territory.

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       actual application of those definitions in the present circumstances. The
       State, however, urges the court to analogize the interception of voice
       communications in the wiretap cases to the decoding of the electronic impulses
       into numbers dialed. In each instance, monitoring took place at law enforcement
       headquarters. Hence, procurement of information in a form useful for
       investigative or evidentiary purposes occurred there. For this reason, even
       though the federal court in [United States v.] Rodriguez, [734 F.Supp. 116
       (S.D.N.Y. 1990), cert. denied, 506 U.S. 847 (1992)] illustrated the logic of the
       interception analysis of the Georgia and Texas wiretap cases by
       contrasting the functions of wiretaps and pen registers, 734 F.Supp. at 121,
       a similar analysis based on the monitoring location seems appropriate in the
       present pen register case.

255 Kan. at 488, 874 P.2d at 1131 (emphasis added).

       Because the monitoring location was located in Overland Park, Kansas, the state

court had jurisdiction to issue the wiretap orders, and the defendants’ jurisdictional

argument is without merit.


Good Faith

       Finally, even if the defendants had otherwise demonstrated that the evidence

obtained through the wiretaps was improper, the court finds that no exclusion should

occur given the objective reasonableness of the investigating officers in relying on the

warrant approved by the state court. See United States v. Leon, 468 U.S. 897, 913 (1984).

       The investigating officers acted with the approval of state judicial officers,

pursuant to procedures under which the targeted calls were initially intercepted, heard,

and recorded in Johnson County, Kansas. The investigating agents attempted to have

translators monitor the wiretaps “live,” and were precluded from doing so by events

outside their control. “After the fact” minimization occurred only after independent

approval by the state court.

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       The defendants argue that there is no good faith basis for admission of the

evidence, citing United States v. Baker, 894 F.2d 1144, 1148 (10th Cir. 1990). In fact, the

court in Baker responded to the issue of the application of the good faith rule to a

warrant void ab initio by stating that “we do not purport to resolve” the issue. Instead,

the court simply held that the doctrine in any event would not apply under the facts of

the case, given that case law “clearly established” that the Colorado state court judge

had no authority to issue the warrant to search property on Indian land, and the equally

clear admission by the investigating officer in the affidavit for warrant that “the actual

criminal jurisdiction of this matter is unclear.” Id.

       No such indicia of a lack of good faith is present in this case. Here, as noted

earlier, both Rodriguez and Gibson support the conclusion that the Johnson County state

court had the jurisdiction to order interception of the calls in Johnson County. There is

no evidence that any investigating agent actively doubted the validity of the procedure

adopted, or otherwise sought to conceal information from the court. To the contrary, all

of the evidence establishes that the investigating officers actively consulted with the

court and the prosecutor’s office in the ongoing execution of the warrant.




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      IT IS ACCORDINGLY ORDERED this 18th day of June, 2015, that the defendants’

Motions to Suppress (Dkt. 47, 69) are hereby denied.




                                                 s/ J. Thomas Marten
                                               J. Thomas Marten, Chief Judge




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